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                             UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )       Crim. No. 20cr10285-DPW
                                             )
ARIEL VELASQUEZ                              )


                              SENTENCING MEMORANDUM

       Defendant Ariel Velasquez was involved in the trafficking of several firearms.

Defendant was not the source of supply for the firearms. Rather, Defendant arranged the

transactions and obtained the firearms from other sources, including David Echeverria and Collin

Faller. Based on the government’s ongoing investigation, Defendant arranged the firearms sales

as a means of obtaining money to fuel his drug abuse problem. Given all the circumstances of

the case, the Government recommends that Defendant be sentenced to a term of 60 months to be

followed by 3 years of supervised release, no fine, and $100 special assessment.

       As set forth in the PSR at ¶¶ 8-17, Defendant middled several illegal firearms deals.

These deals involved a 9mm semi-automatic rifle (with a barrel less than 6 inches long) and six

handguns, most of which were “ghost guns” – pistols which were manufactured by Defendant’s

co-conspirator Echeverria and which did not have serial numbers.    These firearms transactions

also involved the distribution of over 100 rounds of ammunition in various calibers.

       As set forth in the PSR at ¶¶ 29-41, the applicable Sentencing Guidelines result in a Total

Offense Level of 27.   Defendant is a CHC V. See PSR at ¶¶ 44-51.       Pursuant to the

Sentencing Guidelines, Defendant has a range of 120-150 months’ incarceration.      Id. at ¶ 103.

However, because Defendant pled guilty to only the single count of violating 18 U.S.C. §

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922(a)(1)(A), the statutory maximum is 5 years, and the Guidelines’ range is therefore set at 60

months.    Id.

       Defendant’s actions were clearly dangerous.     However, Defendant’s actions appear to

have been driven by his admitted, severe drug abuse problem.     As set forth in the PSR at ¶¶ 84-

87, Defendant was abusing several drugs, particularly cocaine and cocaine base.     The firearms

transactions arranged by Defendant appear to have been driven by Defendant’s drug abuse and

the need to make money to support that drug abuse.     In addition, Defendant was not the source

of supply for the firearms but rather made money by arranging the firearms deals for individuals

who had firearms for sale. Balancing the highly dangerous nature of Defendant’s firearms

trafficking, Defendant’s prior criminal history, and his addiction issues merits a sentence of 60

months’ incarceration for Defendant. A 60-month sentence also aligns with the factors set for in

18 U.S.C. § 3553(a).



                                                     Respectfully submitted,

                                                     RACHAEL S. ROLLINS
                                                     United States Attorney

                                              By:    /s/ Michael Crowley
                                                     MICHAEL CROWLEY
                                                     Assistant U.S. Attorney




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                                 CERTIFICATE OF SERVICE

        I, Michael J. Crowley, Assistant United States Attorney, do hereby certify that this
document filed through the ECF system will be sent electronically to the registered participants as
identified on the Notice of Electronic Filing and paper copies will be sent to those indicated as
non-registered participants.


                                                      /s/ Michael J. Crowley
                                                      MICHAEL J. CROWLEY
                                                      Assistant U.S. Attorney




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